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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )                 4:08CR3001
                                    )
           v.                       )
                                    )
RENE MANUEL VARGAS-MIRANDA,         )         REPORT, RECOMMENDATION
SANTIAGO LOPEZ-MENDOZA,             )                AND ORDER
                                    )
                Defendants.         )
                                    )


     The defendants have filed motions to suppress all evidence
obtained as a result of their detention and the subsequent search
of their vehicle on December 29, 2007.          Filings 28 & 30.        The
detentions and vehicle search at issue did not arise from a
traffic stop.   Rather, the vehicle was parked in a Shell gas
station parking lot located off of Interstate 80, at Exit 379, in
Seward County, Nebraska.      Seward County Deputy Sheriff Randy
Brown contacted defendant Vargas-Miranda, the operator of the
vehicle, inside the gas station, and he contacted defendant
Lopez-Mendoza, the vehicle passenger, while he was seated in the
vehicle’s back seat.


     The defendants claim they were illegally detained and
questioned by Deputy Sheriff Brown, and the vehicle was
unlawfully searched without a warrant, probable cause, or the
defendants’ consent.     For the reasons discussed below, the
defendants’ motions to suppress should be denied.


                            FINDINGS OF FACT


     At approximately 8:30 a.m. on December 29, 2007, Deputy
Sheriff Brown was inside a Shell gas station convenience store
(the “Speedee Mart”) located north of Interstate 80 at exit 379
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in Seward County, Nebraska.        Deputy Sheriff Brown has been an
officer for the Seward County Sheriff’s Department for seven
years, and has received basic law enforcement training and
additional training in drug identification and interdiction,
including instruction on the methods used to package, conceal,
and transport illegal contraband.          He is a canine officer and has
been involved in 25-30 past drug interdiction stops,
approximately one-half of which involved transport of illegal
drugs in concealed compartments.          During his contacts with the
defendants, Deputy Sheriff Brown was in uniform and visibly armed
with his service weapon.


     Interstate 80, Exit 379 provides access to Nebraska Highway
15, a north/south roadway that leads to Seward, Nebraska north of
the interstate.    The Speedee Mart was located in the northeast
quadrant of the intersection of Interstate 80 and Highway 15, and
the officer’s patrol vehicle was parked on the west side of the
Speedee Mart in one of the parking stalls toward the north side
of that store.


     Deputy Sheriff Brown was standing inside the Speedee Mart
looking out the window when he noticed a blue Dodge Magnum with
New York license plates turn off Highway 15 onto the Speedee Mart
driveway, and then stop and back up onto Highway 15 before again
proceeding forward and parking on the south side of the store.
The driver, later identified as Vargas-Miranda, exited the
vehicle and proceeded into the station and toward the coffee
machines.    When Vargas-Miranda entered the store, Deputy Sheriff
Brown was standing behind the store counter close to a station
attendant.   Vargas-Miranda was advised by another station
attendant that the coffee was still brewing and would be ready
soon.


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     The defendant then approached the counter and participated
in a two or three minute conversation with Deputy Sheriff Brown
and the station attendant.         Deputy Sheriff Brown asked Vargas-
Miranda where he was coming from and where he was going.                 Vargas-
Miranda responded that he was traveling to New York to visit his
girlfriend, and planned to be there for two or three weeks.
Vargas-Miranda asked Deputy Sheriff Brown if the sheriff’s office
had Dodge Chargers in its fleet.           When Deputy Sheriff Brown
responded, “Yes,” Vargas-Miranda explained that he liked that
vehicle.   Vargas-Miranda further stated that the vehicle he was
currently driving belonged to his girlfriend.             The communications
between Vargas-Miranda, the officer, and the station attendant
were in English, and the defendant did not appear to have any
difficulty conversing in English.


     The weather was cold that day, approximately 14 to 17
degrees Fahrenheit.     Deputy Sheriff Brown had left his canine in
his patrol vehicle with the vehicle’s heater running on high.                  He
exited the station, spent two or three minutes at his vehicle
checking on his canine, and began to re-enter the Speedee Mart.
When he reached the wind shield and awning for the station’s
doorway, he met Vargas-Miranda who was leaving the store.


     Deputy Sheriff Brown again spoke with the Vargas-Miranda in
English.   Deputy Sheriff Brown asked if he could see the
defendant’s drivers license.         Vargas-Miranda complied by
retrieving a California driver’s license from a plastic playing
card box located in his back pocket.           The officer asked to see
the vehicle registration.      Vargas-Miranda did not have vehicle
registration documents, but did produce an insurance card.




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     Deputy Sheriff Brown reviewed the driver’s license,
contacted dispatch, and requested criminal history information
for Vargas-Miranda.     He looked at the insurance card and noted it
was issued to a female in New York.         The officer asked Vargas-
Miranda how he intended to return to California from New York.
Vargas-Miranda stated he would probably rent a car.              Deputy
Sheriff Brown was holding the insurance card with his thumb
covering the vehicle owner’s name.         When he asked Vargas-Miranda
for the name of the owner, the defendant tried to look at the
card to read the name.     Vargas-Miranda then stated the vehicle
belonged to the passenger’s girlfriend and provided only her
first name.   His voice was shaking and he appeared nervous.
Deputy Sheriff Brown asked for the name of the passenger, and
Vargas-Miranda responded, “Santiago.”


     Deputy Sheriff Brown approached the Dodge Magnum to speak
with the passenger located in the vehicle’s back seat.               Vargas-
Miranda had provided inconsistent information on who owned the
vehicle, and the officer wanted to confirm that the vehicle was
not stolen.   Deputy Sheriff Brown approached the rear passenger
door and knocked on the window.        The passenger, later identified
as Lopez-Mendoza, opened the door.         The officer noticed an
overwhelming odor of air freshener emanating from the vehicle.
Over the course of his contact with Lopez-Mendoza, the officer
saw a total of seven or eight air fresheners inside the vehicle;
a Christmas Tree air freshener in the back seat, a Wick air
freshener can on the vehicle floor, two or three air fresheners
hanging from the steering column, and two or three air fresheners
in the back seat area of the vehicle.          Based on his training and
experience in drug interdiction, Deputy Sheriff Brown knew air
fresheners were often used to mask the odor of illegal drugs.



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     Deputy Sheriff Brown spoke with Lopez-Mendoza in English.
Although Lopez-Mendoza could not speak English fluently, he was
able to provide responsive answers to the officer’s short and
specific questions.     In response to the officer’s questions,
Lopez-Mendoza stated the vehicle belonged to Jessica Roldan, the
name appearing on the insurance card.          Although Lopez-Mendoza did
not state what his relationship was with Jessica Roldan, based on
the information provided by Lopez-Mendoza, Deputy Sheriff Brown
did not believe the vehicle was stolen.              Lopez-Mendoza stated he
and Vargas-Miranda were traveling to New York from California to
visit a friend, intended to stay there two or three days, and
would then fly back to California.


     At this point in the conversation, Vargas-Miranda had
arrived at the Dodge Magnum’s driver’s side door.                He yelled over
to Deputy Sheriff Brown that Lopez-Mendoza could not speak
English.   Lopez-Mendoza then advised the officer that he could
not speak English.


     The officer’s patrol vehicle was not facing the Dodge
Magnum, and therefore the officer’s encounter with the defendants
by their vehicle could not be visually captured on the patrol
vehicle’s in-car camera.      However, before pursuing any further
communication, Deputy Sheriff Brown manually activated his in-car
camera to audio-record his conversation with Vargas-Miranda.                   See
ex. 1.   Shortly thereafter, Deputy Sheriff Brown was advised that
Vargas-Miranda did not have a criminal history and was not the
subject of any outstanding warrants.


     Deputy Sheriff Brown walked toward the back of the Dodge
Magnum, met with Vargas-Miranda, and returned all the documents
that had been produced.     Deputy Sheriff Brown stated, “I


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appreciate you talking to me.        I appreciate it.          You understand
it’s consensual right?      You talking to me?”           Ex. 1, 1:49-2:01.
Vargas-Miranda affirmed that he understood it was consensual.
Approximately ten minutes had elapsed since the defendants
entered the Speedee Mart parking lot.


     Deputy Sheriff Brown then asked if Vargas-Miranda had any
drugs, or any marijuana in the vehicle.               Vargas-Miranda
responded, “No” to both questions.          When asked if he had any
heroin, Vargas-Miranda laughed and stated he left it at home.                     He
also denied possessing any cocaine.          Deputy Sheriff Brown asked,
“You care if I look and see?,” simultaneously gesturing this
request by pointing two fingers first toward his eyes and then at
the Dodge Magnum.       Vargas-Miranda responded, “Go ahead,” but
added “you don’t got no right” because “I wasn’t even driving.”
Deputy Sheriff Brown responded, “Well I’m asking you.                  I’m just
asking you.    I’m asking you.      But like you said, it’s all
consensual.    I’m just asking you.”        Ex. 1, 2:30-2:48.          Vargas-
Miranda, standing with his arms folded, nodded his head.


     Vargas-Miranda was dressed in baggy jeans and a pullover
sweatshirt, and was wearing a baseball cap and sunglasses.                   He
was asked to lift his shirt so the officer could look for
weapons.   Vargas-Miranda complied, and was then told to stand in
front of the Dodge Magnum on the passenger side near a picnic
table.   Vargas-Miranda was told that since he consented to the
search, the officer was going to quickly search the vehicle.


     Deputy Sheriff Brown then spoke with Lopez-Mendoza in
English and asked if there were any drugs in the vehicle.                   Lopez-
Mendoza appeared to understand the officer and responded,
“nothing.”    The officer told Lopez-Mendoza that Vargas-Miranda


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had consented to a vehicle search, and the vehicle was going to
be searched.    He asked Lopez-Mendoza to stand by Vargas-Miranda.
Lopez-Mendoza complied.


     Prior to beginning the search, Deputy Sheriff Brown was
aware that Vargas-Miranda had no criminal history.              He did not
advise the defendants of their Miranda rights, or tell them they
were free to leave or could refuse to consent to a search.


     Deputy Sheriff Brown called for backup assistance.               Deputy
Sheriff Down of the Seward County Sheriff’s department arrived
five or ten minutes later and placed the defendants in his
vehicle while the Dodge Magnum was searched.


     After calling for backup, Deputy Sheriff Brown drove his
patrol vehicle behind the Dodge Magnum so he could video-record
the search and retrieve his canine.         The canine ran around the
defendants’ vehicle but did not alert to the odor of drugs.                 The
canine was returned to the patrol vehicle, and the officer began
to manually search the rear cargo area of the Dodge Magnum.


     Deputy Sheriff Brown noticed that the screws used to attach
the rear side panels were inconsistent with one another, and some
of the screws appeared to be drywall screws.            The officer
believed these screws were not installed by the vehicle
manufacturer.    The officer concentrated his search on this area
and removed the screws and side panels with a cordless drill.
Although the voids behind the side panels were empty, it was
visibly apparent that post-manufacture alterations were made to
widen the access to the cavities behind these panels.               The screws
had been easily removed, and they were easily reset, with no
damage to the vehicle.     Based on his training and experience,


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Deputy Sheriff Brown believed the modifications he saw behind the
rear panels were made to facilitate storing and concealing
illegal drugs during transport.


     Deputy Sheriff Brown searched the front seat area of the
vehicle.   When he removed the glove box, he noticed one of the
rivets used to affix the manufacturer-installed carpet behind the
glove box was missing.     The officer removed the remaining rivet
and looked up into the air bag area.          Although the officer
believed a vehicle of this make, model, and year would have been
sold equipped with a passenger-side air bag, this air bag was
missing.   Deputy Sheriff Brown removed the front dash panel which
framed out the heater and console, and looking toward the glove
box, saw a cylindrical object wrapped in black electrical tape.


     Deputy Sheriff Brown retrieved his canine to perform another
drug sniff.    The canine entered the vehicle, exhibited
significant behavior changes, and began scratching and biting at
the floor board, thereby indicating to the odor of drugs inside
the vehicle.   Deputy Sheriff Brown removed the cylindrical
package found in the front console area.             The vehicle was towed
from the scene.


                             LEGAL ANALYSIS


     The defendants claim they were unlawfully seized and
questioned by Deputy Sheriff Brown, and that the vehicle they
occupied was unlawfully searched.

     A.    Unlawful Seizure.

     Vargas-Miranda does not claim his initial contact with
Deputy Sheriff Brown was an unlawful “seizure” in violation of

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the Fourth Amendment, readily admitting that “initially the
encounter between Vargas-Miranda and Brown was consensual. . . .”
Filing 29, p. 6.    Vargas-Miranda claims “it quickly turned into
an illegal investigatory detention when Brown took
Vargas-Miranda’s driver’s license and insurance card,” because
“[o]nce this show of authority occurred, Vargas-Miranda did not
feel free to leave.”     Filing 29, p. 6.       Lopez-Mendoza claims he
was unlawfully seized when Deputy Sheriff Brown requested consent
to search the vehicle, asked the defendants to stand away from
it, pulled his patrol car behind the defendants’ car, and called
for a back up officer.     Filing 31, p. 4.


     1.    Request for driver’s license and vehicle
           registration.

     “Law enforcement officers do not violate the Fourth
Amendment’s prohibition of unreasonable seizures merely by
approaching individuals on the street or in other public
places and putting questions to them if they are willing to
listen.”   United States v. Drayton, 536 U.S. 194 (2002).
However, a consensual encounter between citizens and police may
become an unlawful seizure if, during the course of events, “it
loses its consensual nature.”       U.S. v. Carpenter, 462 F.3d 981,
985 (8th Cir. 2006)(quoting Bostick, 501 U.S. at 434).


     Vargas-Miranda argues that his encounter with Deputy Sheriff
Brown became an unlawful seizure when the officer asked the
defendant to produce his drivers license and vehicle
registration.   “Even when officers have no basis for suspecting a
particular individual, they may generally ask the individual
questions and request to examine his or her identification.”
Bostick, 501 U.S. at 435.      An officer does not “seize” a person
by asking to see his or her driver’s license and vehicle

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registration provided he does not “convey a message that
compliance with [his] request is required.”                U.S. v. Carpenter,
462 F.3d at 985 (reversing district court’s ruling suppressing
evidence and holding that no seizure occurred when an officer
approached a vehicle stopped on the side of the road, asked the
driver for his license and vehicle registration, and retained
these documents for four or five minutes to examine them).


     Vargas-Miranda claims he was acceding to the officer’s
authority and did not freely and voluntarily produce his license
and the vehicle insurance card in response to the officer’s
request.    He argues he did not believe he was free to ignore the
officer, walk away, and continue on with his travel.


     In determining whether a seizure has occurred, the proper
inquiry is whether a reasonable person would feel free to decline
the officers’ requests or otherwise terminate the encounter.
Drayton, 536 U.S. at 202.      The reasonable person test is
objective and is based upon whether an innocent person in the
position of the defendant would have felt compelled to speak with
the officer, answer his questions, and cooperate with his
requests for information and documents.              Id.


     Deputy Sheriff Brown did not order Vargas-Miranda to provide
information.    He asked.    Although the officer did not advise
Vargas-Miranda of his right to refuse to cooperate, the failure
to provide this information does not establish that a seizure
occurred.   Drayton, 536 U.S. at 207.         Deputy Sheriff Brown was in
uniform and armed, but “those factors should have little weight”
in determining if an encounter with law enforcement is
consensual.    Drayton, 536 U.S. at 204.



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      Officers are often required to wear uniforms and in
      many circumstances this is cause for assurance, not
      discomfort. Much the same can be said for wearing
      sidearms. That most law enforcement officers are armed
      is a fact well known to the public. The presence of a
      holstered firearm thus is unlikely to contribute to the
      coerciveness of the encounter absent active brandishing
      of the weapon.

Id.


      Deputy Sheriff Brown did not apply force use intimidating
movements or threats, command Vargas-Miranda’s compliance,
brandish his weapon, or stop Vargas-Miranda’s movements to obtain
Vargas-Miranda’s cooperation.        Drayton, 536 U.S. at 204.          The
incident occurred in a public place in the daytime, with
convenience store employees nearby.          The officer’s marked vehicle
was in plain sight when the defendants chose to enter the Speedee
Mart parking lot, and when Vargas-Miranda chose to enter the
store.   Vargas-Miranda chose to approach the officer and begin a
conversation.    Under the totality of these circumstances, a
reasonable person in Vargas-Miranda’s position would have
believed he was free to refuse the officer’s requests for
information and continue on with his travel, and a reasonable
officer would believe this defendant was voluntarily cooperating
with the officer’s requests.       Vargas-Miranda was not unlawfully
seized when he responded to Deputy Sheriff Brown’s request to
produce his drivers license and the vehicle information.                U.S. v.
Locklin, 943 F.2d 838 (8th Cir. 1991)(reversing district court’s
ruling suppressing evidence and holding that the presence of a
marked police car and use of police car’s computer to check
person’s name did not transform a consensual encounter into
“seizure” where the incident occurred on public sidewalk,
detectives made no demand, gave no intimidating commands,
displayed no weapons, and used neither threats nor force).                 See

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also, United States v. Granillo, 288 F.3d 1071 (8th Cir.
2002)(holding that “asking defendant for identification” was not
a seizure absent evidence that the officer “used language or a
tone of voice indicating that compliance might be compelled”).


     2.    Retaining driver’s license pending criminal history
           check.

     After receiving Vargas-Miranda’s driver’s license and a
vehicle insurance card, Deputy Sheriff Brown called dispatch to
perform a criminal history check on Vargas-Miranda.               The officer
did not “seize” Vargas-Miranda by briefly retaining his license
while awaiting a response from dispatch.             Once the drivers
license is produced, an officer can reasonably interpret the
person’s act of providing this document as consent to retain it
for a brief examination or check.         Carpenter, 462 F.3d 981, 985.


     3.    Investigatory detention.


     Lopez-Mendoza argues he was unlawfully seized when Deputy
Sheriff Brown asked for consent to search the vehicle, called for
backup assistance, parked his patrol vehicle behind the Dodge
Magnum, and directed the defendants to stand outside the vehicle
while the search was performed.        A law enforcement officer may
ask for consent to search even in the absence of reasonable
suspicion, and doing does not result in a “seizure” unless the
officer secures the defendant’s cooperation by coercive means.
Drayton, 536 U.S. at 201.      As more thoroughly discussed below,
Deputy Sheriff Brown did not coerce Vargas-Miranda to consent to
a search of the Dodge Magnum.


     Moreover, at the time the officer asked for consent to
search, he had made observations and heard statements that

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aroused his suspicion that criminal activity was afoot.                  Before
receiving any information from dispatch, Deputy Sheriff Brown
reviewed the insurance card and asked Vargas-Miranda to state the
name of the vehicle owner.          Vargas-Miranda appeared very nervous
and was shaking.    He tried to read the insurance card, and could
state the first but not the last name of the vehicle owner,
although he had earlier stated the owner was his girlfriend.
This inconsistency and Vargas-Miranda’s demeanor prompted the
officer to reasonably suspect the vehicle may be stolen,
justifying the officer’s further investigation and his
questioning of the passenger, Lopez-Mendoza.


     The conversation with Lopez-Mendoza dispelled the officer’s
concern that the vehicle may be stolen, but revealed additional
information and prompted further suspicion that illegal activity
was occurring, likely illegal drug activity.               While speaking with
Lopez-Mendoza who was seated in the Dodge Magnum, Deputy Sheriff
Brown smelled the strong odor of air freshener, which is often
used to mask the odor of illegal drugs, and he saw seven or eight
air fresheners in the vehicle.          In addition, Lopez-Mendoza’s
description of the travel itinerary was not consistent with
Vargas-Miranda’s.       Lopez-Mendoza stated they were visiting a
friend in New York for two or three days and returning home by
airplane, while Vargas-Miranda stated they were visiting his
girlfriend in New York for two or three weeks and probably
returning home by rental car.          Moreover, when Vargas-Miranda saw
Lopez-Mendoza speaking with the officer, he yelled that Lopez-
Mendoza could not speak English.            Lopez-Mendoza, who had been
communicating with the officer in English, promptly stopped the
conversation by stating he was unable to speak English.




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     “In evaluating whether a set of facts would give rise to
reasonable suspicion, this court must look at the totality of the
circumstances and not just each independent fact standing alone.
Furthermore, the court may consider any added meaning that
certain conduct might suggest to experienced officers in the
field, trained in the observation of criminal activity.”                United
States v. Jones, 269 F.3d 919, 926-927 (8th Cir. 2001).                Based on
the totality of facts discovered by Deputy Sheriff Brown during
this consensual encounter, I conclude the officer had a
reasonable articulable suspicion to continue detaining the
defendants for a reasonable period of time to investigate the
circumstances and determine if the defendants were engaged in
criminal activity.      United States v. Foley, 206 F.3d 802, 805
(8th Cir. 2000)(holding presence of a masking odor in vehicle,
passenger’s nervous behavior, passenger’s inability to recall the
name of his purported daughter-in-law, and vast divergence
between passenger’s and driver’s statements regarding travel
accommodations to California justified further detention of the
vehicle for investigation of whether a crime was being
committed).    See also, Jones, 269 F.3d at 928 (holding
inconsistent information on travel plans “casts suspicion and
doubt on the nature and legitimacy” of defendants’ activity);
United States v. Pulliam, 265 F.3d 736, 740 (8th Cir.
2001)(inconsistencies in information regarding the trip and the
relationship between the driver and passenger justified further
detention of the driver while the officer continued to
investigate).


     The defendants were not unlawfully seized when Deputy
Sheriff Brown asked Vargas-Miranda for his license and the
vehicle registration, asked for consent to search the vehicle,
and directed the defendants to stand outside the Dodge Magnum


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while the officer parked a patrol car behind it and conducted a
search pursuant to Vargas-Miranda’s voluntary consent.


     B.    Consent to Search.


     The defendants claim Vargas-Miranda did not voluntarily
consent to the vehicle search, and even if he did, the search
performed exceeded the scope of the consent given.              The precise
question is not whether Vargas-Miranda consented subjectively to
Deputy Sheriff Brown’s search of the Dodge Magnum, nor whether
the officer actually believed he consented, but rather whether a
reasonable officer under the circumstances would believe Vargas-
Miranda provided a valid consent.         United States v. Jones, 254
F.3d 692, 695 (8th Cir. 2001); United States v. Sanchez, 156 F.3d
875, 878 (8th Cir. 1998).      See also Illinois v. Rodriguez, 497
U.S. 177, 188 (1990).      The defendant’s “actual subjective state
of mind at the time that he allegedly gave his consent is not
determinative; our focus, rather, is on how a reasonable person
could have perceived his state of mind at that time.”               United
States v. Cedano-Medina, 366 F.3d 682, 685 (8th Cir. 2004).                 The
government has the burden of proving by a preponderance of the
evidence that Vargas-Miranda actually consented to the search of
the vehicle or that a reasonable officer in Deputy Sheriff
Brown’s position would believe that he did.            Jones, 254 F.3d at
695; United States v. Miller, 20 F.3d 926, 930 (8th Cir. 1994).


     The government need not prove that both Vargas-Miranda, the
driver, and Lopez-Mendoza, the passenger, consented to the
search.   Neither defendant owned the Dodge Magnum.


     It is . . . well settled that consent to a search may
     be given not only by the owner of the property to be
     searched but also by a third party who possesses common

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     authority over or other sufficient relationship to the
     premises sought to be inspected. The driver of a car
     has the authority to consent to a search of that
     vehicle. As the driver, he is the person having
     immediate possession of and control over the vehicle.
     The driver may consent to a full search of the vehicle,
     including its trunk, glove box and other components.
     This is true even when some other person who also has
     control over the car is present, if the other person
     remains silent when the driver consents and does not
     object to the search.

U.S. v. Eldridge, 984 F.2d 943, 948 (8th Cir. 1993)(citing United
States v. Matlock, 415 U.S. 164, 171 (1974)(internal citations
and quotation marks omitted).


     The Eighth Circuit has summarized the analysis required in
determining if a defendant voluntarily consented to a
search.


     A court determines whether consent is voluntary under
     the totality of the circumstances. . . . In evaluating
     the reasonableness of the officer’s belief [that the
     search was consensual], we consider the characteristics
     of the person consenting, including the party’s age,
     intelligence and education, whether he was under the
     influence of drugs or alcohol, whether he was informed
     of his right to withhold consent, and whether he was
     aware of rights afforded criminal suspects. We also
     consider the environment in which the alleged consent
     took place, specifically (1) the length of time he was
     detained; (2) whether the police threatened, physically
     intimidated, or punished him; (3) whether the police
     made promises or misrepresentations; (4) whether he was
     in custody or under arrest when the consent was given;
     (5) whether the consent occurred in a public or a
     secluded place; and (6) whether he stood by silently as
     the search occurred.

United States v. Esquivias, 416 F.3d 696, 700 (8th Cir.
2005)(internal citations omitted).         See also United States v.
Mancias, 350 F.3d 800, 805 (8th Cir. 2003).

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     Vargas-Miranda is an adult, and was able to freely converse
with the officer in English.        The encounter between Vargas-
Miranda and Deputy Sheriff Brown was consensual from the outset.
Vargas-Miranda was not intimidated by law enforcement or this
officer.    Rather, he entered the Speedee Mart despite the
presence of an unoccupied sheriff’s vehicle in the parking lot,
started a conversation with the uniformed and visibly armed
officer while waiting for coffee to brew, and in response to the
officer’s later questioning, jokingly stated he had heroin at
home but not in his vehicle.        Before requesting consent, the
officer stated Vargas-Miranda that their conversation was
consensual.    Vargas-Miranda responded, “Go ahead,” but
nonetheless pointed out that the officer had “no right” to
conduct the search.     Deputy Sheriff Brown repeated that their
communications were consensual, and stated that he was “just
asking” for consent to search the vehicle.            The exchange occurred
in a public place.


     Deputy Sheriff Brown did not promise or misrepresent
anything, and made no threats to secure Vargas-Miranda’s further
cooperation or his consent.        The officer merely asked if there
were any drugs in the vehicle, and when Vargas-Miranda denied
possession of drugs, asked, “You care if I look and see?,” his
accompanying hand gestures further conveying the meaning of his
question.    Vargas-Miranda was not under arrest.            His drivers
licence and the vehicle insurance card had been returned.
Vargas-Miranda and Lopez-Mendoza watched the search and neither
defendant asked or indicated that the search should be stopped.


     Under the totality of these circumstances, I conclude
Vargas-Miranda voluntarily consented to the search of the Dodge
Magnum.    See e.g., United States v. Carrate, 122 F.3d 666, 670


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(8th Cir. 1997)(holding the defendant voluntarily consented to
the search where, despite his limited ability to speak English
and the trooper’s failure to use a written consent form or advise
the defendant of his right to refuse consent, the defendant
understood and appropriately answered the trooper’s questions,
had been detained for only a short amount of time before
consenting, was not threatened or physically intimidated and no
promises or misrepresentations were made, was not under arrest
when he consented, was on a public interstate; and he stood idly
by while the troopers searched his car, never indicating that he
objected to the search.)


     Although Vargas-Miranda claims he withdrew his consent by
stating the officer had no right to search the vehicle, this
statement cannot be construed as an “unequivocal act or statement
of withdrawal,” especially considering the Vargas-Miranda
thereafter watched the search and raised no objection.                U.S. v.
Martel-Martines, 988 F.2d 855, 858 (8th Cir. 1993)(holding
defendant’s act of watching in silence as the officers examined
his truck on a hoist, lowered it, and prepared to puncture the
sheet metal that covered the secret compartment defeated any
claim that he withdrew his consent or believed the search
exceeded the scope of his consent).


     Lopez-Mendoza argues that even if Vargas-Miranda’s consent
to search was voluntary, the scope of the consent was limited to
“looking inside,” which does not permit dismantling portions of
the vehicle.    “The scope of a search is generally defined by its
expressed object.”      Florida v. Jimeno, 500 U.S. 248, 251 (1991).
Deputy Sheriff Brown asked Vargas-Miranda if there were illegal
drugs in the vehicle, and followed these questions by asking,
“You care if I look and see?”        Considered in context, the officer


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was asking for consent to look for illegal drugs in the vehicle,
and “it was objectively reasonable for the police to conclude
that the general consent to search [defendant’s] car included
consent to search containers within that car which might bear
drugs.”   Jimeno, 500 U.S. at 251.


     Lopez-Mendoza argues that dismantling portions of the Dodge
Magnum to inspect concealed areas exceeded the scope of any
consent to search the vehicle.         “Although an individual
consenting to a vehicle search should expect that search to be
thorough, he need not anticipate that the search will involve the
destruction of his vehicle, its parts or contents.”                 U.S. v.
Alverez, 235 F.3d 1086, 1088-89 (8th Cir. 2000).


     However, there is a distinction between damaging a vehicle
and dismantling a vehicle.         There is no evidence that Deputy
Sheriff Brown’s search damaged any part of the Dodge Magnum.
At the outset of the consent search, Deputy Sheriff Brown noticed
what appeared to be after-market alterations in the rear cargo
area; specifically, drywall screws used to attach the rear side
panels.   He removed these screws, and found evidence that the
vehicle was likely used to transport drugs in the past, though no
illegal drugs were currently present.            The officer then replaced
the screws without damaging the vehicle, and proceeded to remove
the glove box and front dashboard area.               Dismantling the vehicle
in this manner to expose its concealed compartments did not
exceed the scope of the Vargas-Miranda’s consent the vehicle for
illegal drugs.    U.S. v. Ferrer-Montoya, 483 F.3d 565, 568 (8th
Cir. 2007)(holding officer’s act of removing screws from vehicle
to open a concealed compartment commonly used for drug transport
was minimally intrusive, did no damage to the vehicle, and did
not exceed the defendant’s consent to search); U.S. v. Alcantar,


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271 F.3d 731, 735 (8th Cir. 2001)(holding consent to search truck
for guns and drugs permitted two-hour and forty-five minute
search during which “the officers removed and inspected pieces of
the truck, used a fiber optic scope to search the gas tank, air
conditioning vents, fenders and other hidden areas of the truck,
climbed under the truck with a flashlight, pulled apart the door
and interior fabric panels, and used a stethoscope”).


     Deputy Sheriff Brown’s search of the Dodge Magnum did not
violate the defendants’ Fourth Amendment rights.              The defendants’
motion to suppress the evidence found during the search should be
denied.



     IT THEREFORE HEREBY IS RECOMMENDED to the Honorable Richard
G. Kopf, United States District Judge, that the motions to
suppress, filings 28 and 30, be denied in all respects.

     The parties are notified that a failure to object to this
recommendation in accordance with the local rules of practice may
be held to be a waiver of any right to appeal the district
judge’s adoption of this recommendation.

     IT FURTHER HEREBY IS ORDERED: Trial is set to commence at
9:00 a.m. on June 30, 2008, for a duration of three trial days
before the Honorable Richard G. Kopf in Courtroom 1, United
States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. Jury selection will be at the
commencement of trial.

     DATED this 12th day of May, 2008.


                                   BY THE COURT:


                                   s/  David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge



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